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 5
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 8
                    IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                                  CASE NO: 2:10-CR-0255 GEB

12                          Plaintiff,
                                                                STIPULATION AND PROPOSED
13          v.                                                  ORDER MODIFYING TERMS OF
                                                                PRETRIAL RELEASE TO PERMIT
14   FRENCH GULCH NEVADA MINING                                 OUT-OF-STATE TRAVEL FOR
     CORPORATION, BULLION RIVER                                 EMPLOYMENT
15   GOLD CORPORATION, PETER                                    _______________________________
     MARTIN KUHN, and KIEDOCK KIM,
16
                            Defendants.
17
     _____________________________/
18

19                                                 Background

20          The defendant, KIEDOCK KIM, was released on July 9, 2010, on an

21   appearance bond secured by $100,000 deposited with the Court. The conditions of

22   release, modified by stipulation and order entered on October 4, 2010, restricted the

23   defendant’s travel to the Eastern District of California and the Northern District of

24   California. By stipulation and order entered on February 1, 2012, the defendant was

25   permitted to travel to and reside in the District and State of Arizona, and to travel in

26   Nevada, for the purpose of gainful employment.

27          The defendant, a Canadian citizen and a metallurgical engineer by profession,

28   received formal approval from the Department of Homeland Security to work in the

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 1   United States as a non-immigrant employee. Following a recent order modifying the

 2   conditions of his release he began his employment with Bell Copper Corporation in

 3   Tucson, Arizona, as a full-time “Feasibility Study Manager.” The position, which is

 4   essential to the defendant’s continued ability to support himself, requires travel to

 5   evaluate mining properties in Arizona and Nevada.

 6          After his employment commenced in Arizona, defendant’s employer requested

 7   that he travel to a site 100 miles into New Mexico to evaluate mining equipment to

 8   be purchased for use in the Arizona mining facility.

 9          Counsel for both the United States and the defendant have discussed the

10   defendant’s need for regular travel to further the interests of his employer and to

11   maintain gainful employment and, subject to approval by this Court, the government

12   does not oppose an application to further modify the conditions of defendant’s

13   release.

14          The defendant has filed a W aiver of Appearance but will make himself readily

15   available for any and all appearances in this case as may be required and will also

16   stay in regular contact with his attorneys throughout the duration of his out-of-state

17   employment.

18          This Court has previously approved travel outside of the United States to

19   Canada in order to permit the defendant to visit and assist his father during a

20   terminal illness and for his father’s funeral services.

21                                                  Stipulation

22          Accordingly, the defendant, KIEDOCK KIM, through his counsel of record, and

23   plaintiff United States of America, through its counsel, Assistant United States

24   Attorney Samuel W ong, agree and stipulate that the condition of pre-trial release

25   restricting the defendant’s travel to the Eastern and Northern Districts of California,

26   and to Arizona and Nevada for the purposes of employment shall be modified as

27   follows: The defendant shall be permitted to travel to and from Tucson, Arizona, to

28   the Eastern District of California, and for the purpose of his out-of-state employment

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 1   with Bell Copper Corporation, the defendant is permitted to reside in Arizona, and to

 2   travel at the request of his employer within the continental United States in order to

 3   fulfill his professional responsibilities as a mining engineer. Any travel within the

 4   continental United States outside of California, Arizona, or Nevada however, is

 5   conditioned upon the specific advance knowledge of the proposed travel and the

 6   expressed approval of the Assistant United States Attorney assigned this case.

 7   Dated: February 9, 2012                             Respectfully submitted,

 8                                                       SEGAL & KIRBY LLP

 9
                                                 By:     /s/ Malcolm Segal
10                                                       MALCOLM SEGAL
                                                         Attorneys for Defendant
11                                                       KIEDOCK KIM

12
     Dated: February 9, 2012                     By:     /s/ Samuel W ong
13                                                       SAMUEL W ONG
                                                         Assistant United States Attorney
14                                                       (By permission)

15

16                                                        ORDER

17              GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties,

18   the condition of pre-trial release restricting the defendant’s travel is modified as

19   follows: The defendant shall be permitted to travel within the Eastern and Northern

20   Districts of California and to and from Tucson, Arizona, to the Eastern District of

21   California and for the purpose of his out-of-state employment with Bell Copper

22   Corporation, the defendant is permitted to reside in Arizona, and to travel within the

23   continental United States, at the request of his employer, in order to fulfill his

24   professional responsibilities as a mining engineer. Any travel within the continental

25   United States outside of California, Arizona, or Nevada is conditioned upon the

26   specific advance knowledge of the proposed travel and the expressed approval of

27   the Assistant United States Attorney assigned this case.

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 1            The defendant must stay in regular contact with his attorneys throughout the

 2   duration of his out-of-state employment, and notwithstanding his waiver of

 3   appearance on file, shall personally appear in this case as may be ordered by the

 4   Court.

 5            IT IS SO ORDERED.

 6   Dated: February 9, 2012
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 8                                                 GARLAND E. BURRELL, JR.
                                                   United States District Judge
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       Stipulation and Order Modifying Term s of Pretrial Release to Perm it Out-of-State Travel For Em ploym ent
